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 4

 5
     Attorneys for Defendants BETULA LENTA, INC., DAVID PARK and
 6   JONATHAN PAE
 7

 8                              UNITED STATES BANKRUPTCY COURT
 9                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11   JINZHENG GROUP (USA) LLC,                      )   Los Angeles Superior Court
                                                    )   Case No.: 22STCV02643
12
                  Plaintiff,                        )
                                                    )   Bankruptcy Case No. 2:21-bk-16674-ER
13                                                  )
     Vs.                                            )   Chapter 11
14                                                  )
     BETULA LENTA, INC., etc., et al.,              )   NOTICE OF REMOVAL OF STATE
15                                                  )   COURT ACTION
                                                    )
16                Defendants.                       )
                                                    )   [FRBP 9027; LBR 9027-1]
17                                                  )
                                                    )
18                                                  )
                                                    )
19                                                  )
                                                    )
20                                                  )
21

22
     TO THE UNITED STATES BANKRUPTCY COURT, TO THE UNITED STATES TRUSTEE
23
     AND TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
24
            Please take notice that on April 12, 2022, Defendants BETULA LENTA, INC., DAVID
25
     PARK and JONATHAN PAE hereby file with the Clerk of this Court at the United States
26
     Bankruptcy Courthouse, located at 255 E. Temple St., Los Angeles, CA 90012, this Notice of
27   Removal of State Court Action (the “Notice”). This Notice is filed to accomplish the removal of
28   the action pending in the Superior Court of the State of California in and for the County of Los
     Angeles, entitled Jinzheng Group (USA) LLC vs. Jonathan Pae, etc., et al., Los Angeles Superior
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 1   Court Case No. 22STCV02643 commenced on February 7, 2022 (the “State Court Action”), to
 2   the United States Bankruptcy Court for the Central District of California in Plaintiff’s Chapter 11
 3   Bankruptcy Case No. 2:21-bk-16674-ER filed on August 24, 2021 (the “Chapter 11”).
 4          Pursuant to FRBP Rule 9027, 28 USC §1452, 28 USC §1334(e)(1) and 28 USC §157,

 5   this Notice of Removal of State Court Action is hereby filed with the assigned Bankruptcy Court
     for the Chapter 11 case. A copy of the Notice has been filed with the Clerk of the Los Angeles
 6
     Superior Court, after which the parties shall proceed no further in that court and this matter shall
 7
     be placed upon the docket of the assigned Bankruptcy Court for further proceedings.
 8
            On February 7, 2022, Debtor filed the State Court Action against named Creditor
 9
     BETULA LENTA, INC. (“BLI”) and two of its principals JONATHAN PAE and DAVID
10
     PARK,. The State Court Action also named Creditor BETTY BAO ZHENG and related
11   business entity CBW GLOBAL, Inc.. This State Court Action was filed after Debtor filed the
12   Chapter 11 case on August 24, 2021, and without first seeking leave of the Bankruptcy Court in
13   the Chapter 11 case or informing the Bankruptcy Court of the State Court Action at the time of
14   filing. In the State Court Action, Debtor claims damages under causes of action for Breach of

15   Contract, Intentional Misrepresentation, Negligent Misrepresentation and other claims based
     upon the same three (3) written contracts between Plaintiff and Debtor JINZHENG GROUP
16
     (USA) LLC with Defendant and Creditor BLI, for performance by BLI of professional services
17
     for entitlement of the primary asset of Debtor in this Chapter 11 case: the 32 acres of raw
18
     unentitled land and adjacent entry parcels commonly known as 2929 Amethyst St., Los Angeles,
19
     CA, and development of a housing project, for which reorganization of Debtor ultimately
20
     depends. Those same 3 written contracts between Debtor and Creditor BLI for the same housing
21   development on the real property owned by Debtor upon which Debtor’s reorganization depends,
22   are the exact same 3 contracts and services related to the same housing project upon which
23   Creditor BLI based its Proof of Claim filed in this Chapter 11 on February 3, 2022 (Claim No. 18
24   of Creditor BLI), (the “Proof of Claim”).

25          On February 19, 2022, Debtor filed a Motion to Disallow Creditor BLI’s Proof of Claim,
     which was heard in the Bankruptcy Court on March 30, 2022. On March 30, 2022, the
26
     Bankruptcy Court issued an Order (Docket No. 174) in the Debtor’s Chapter 11 case setting a
27
     trial date of October 24, 2022 in the Bankruptcy Court. That trial will receive evidence and shall
28
     enter a judgment on all issues relating to Creditor BLI’s Proof of Claim and the value of BLI’s

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 1   services under the contracts and for the housing project, which are identical facts and evidence
 2   which are the alleged grounds and basis of Debtor-Plaintiff’s State Court Action against Creditor
 3   BLI and its individual principals. The State Court Action and the October 24, 2022 Bankruptcy
 4   Court trial in the Chapter 11 case, will adjudicate and determine Creditor BLI’s performance and

 5   right to payment for services performed under those written contracts for Debtor, the value of
     Creditor BLI’s Proof of Claim for unpaid pre-petition services and the directly related damage
 6
     claims under the State Court Action, all of which are based upon the same three (3) written
 7
     contracts for the same real property asset of Debtor, the same evidence, the same witnesses and
 8
     clearly upon the same allegations of fact. The State Court Action is the same action as the trial
 9
     set in the Chapter 11 case on Creditor BLI’s Proof of Claim. Debtor must not fragment the
10
     litigation between the Los Angeles Superior Court and the Bankruptcy Court, or attempt to seek
11   different, inconsistent or more favorable results on the same facts as pending in the trial on
12   Creditor BLI’s Proof of Claim, or to use the State Court Action to delay the expedited
13   proceedings in the Chapter 11 case or the due dates for Debtor’s plan of reorganization or any
14   alternative liquidation of assets.

15           The Bankruptcy Court has jurisdiction over the claims in the State Court Action, under
     28 USC §157 as a core proceeding in the Chapter 11 case, which is already scheduled for trial on
16
     October 24, 2022 in the Bankruptcy Court. The allowance or disallowance of Creditor BLI’s
17
     Proof of Claim involves determination of the identical facts and evidence as required for the
18
     State Court Action. Any judgment in the State Court Action would impact the claim and affect
19
     liquidation of the assets of the estate or adjustment of the Debtor/Creditor relationship between
20
     Debtor and Creditor BLI. Resolution of the State Court Action will significantly affect the
21   administration of the estate, which is evident as it is relied upon as grounds under the Second
22   Motion of Debtor for Order Extending Debtor’s Exclusivity Period to file Chapter 11 Plan and
23   Solicit Acceptances Thereto (Docket No. 181) filed on April 7, 2022 and set for hearing on May
24   4, 2022 (Docket No. 183). Debtor must not be permitted to seek to delay confirmation of a plan

25   of reorganization by demanding for the Bankruptcy Court to wait until the State Court Action is
     adjudicated in the Los Angeles Superior Court, based upon the same set of facts, same evidence
26
     and the same three (3) written contracts which form the basis of Creditor BLI’s Proof of Claim,
27
     pending in the adversary proceedings which are set for evidentiary trial in the Chapter 11 case
28
     before the Bankruptcy Court on October 24, 2022.

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 1          The State Court Action will involve attempts by Debtor to obtain property of the estate.
 2   All such proceedings are core proceedings, under 28 USC §157(b)(2)(A), (E) and (O), among
 3   others. Should “any claim or cause of action” asserted in the Civil Action be determined to be
 4   non-core, Creditor BLI consents to the entry of final orders or judgment by the Bankruptcy

 5   Judge. The individual principals of Creditor BLI sued without adequate allegations of individual
     liability, named as DAVID PARK and JONATHAN PAE, consents to the jurisdiction of this
 6
     Court, and to the entry of final orders or judgment by the Bankruptcy Judge. Creditor BLI is
 7
     informed and believes that the remaining Defendants in the State Court Action also consent to
 8
     removal to the Bankruptcy Court in the Chapter 11 case.
 9
            Each and every cause of action in the State Court Action is directly related to this Chapter
10
     11 case, for which all evidence and findings are directly and inextricably related. The State
11   Court Action will require determination of the same issues, evidence and findings required in the
12   October 24, 2022 trial set for Creditor BLI’s Proof of Claim (Docket No. 174). Removal of each
13   claim and cause of action of the State Court Action to the Chapter 11 case pending in the
14   Bankruptcy Court is authorized by 28 USC §§1452, 1334 and 157, and the General Order of the

15   District Court of California referring bankruptcy matters to the United States Bankruptcy Court.
     Removal is in accordance with Rule 9027 of the Federal Rules of Bankruptcy Procedure and
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     Local Bankruptcy Rule 9027-1. No responsive pleading is due or has been filed in the State
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     Court Action. Within 30 days of the filing of this Notice, a copy of all process and pleadings in
18
     the State Court Action shall be filed with the Bankruptcy Court in accordance with Rule
19
     9027(a)(1 of the Federal Rules of Bankruptcy Procedure, and Local Bankruptcy Rule 9027-1.
20
     The term “pleadings” is defined by Rule 7 of the Federal Rules of Civil Procedure, which is
21   incorporated by Rule 7007 of the Federal Rules of Bankruptcy Procedure. Copies of the
22   pleadings will be timely filed, and if additional documents are required Creditor BLI will submit
23   these documents.
24          NOW THEREFORE, ALL PARTIES TO THE STATE COURT ACTION PENDING IN

25   THE SUPERIOR COURT OF THE STATE OF CALIFORNIA, COUNTY OF LOS ANGELES,
     STANLEY MOSK COURTHOUSE CASE NO. 22STCV04623 ARE HEREBY NOTIFIED,
26
     Pursuant to Rule 9027(e) of the Federal Rules of Bankruptcy Procedure, as follows:
27
            Removal of the State Court Action and all claims and causes of action therein is effected
28
     upon the filing of a copy of this notice with the Clerk of the Superior Court of the County of Los

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 1   Angeles pursuant to Rule 9027(c) of the Federal Rules of Bankruptcy Procedure. The State
 2   Court Action, is removed from the Superior Court to the Bankruptcy Court presiding over the
 3   Chapter 11 case. The parties to the State Court Action shall proceed no further in the Superior
 4   Court unless and until the action is remanded by the Bankruptcy Court.

 5          Respectfully Submitted,

 6
     Dated: April 12, 2022                _/s/ Peter A. Kim_______________________________
 7                                        Peter A. Kim, Attorney for Defendants
                                          BETULA LENTA, INC., DAVID PARK and
 8                                        JONATHAN PAE
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 3450
WILSHIRE BLVD., STE. 1200, LOS ANGELES, CA 90010

A true and correct copy of the foregoing document entitled (specify): NOTICE
                                                  OF REMOVAL OF STATE COURT
ACTION; NOTICE OF STATUS CONFERENCE RE: REMOVAL OF ACTION
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
2/4/2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Michael F Chekian mike@cheklaw.com, chekianmr84018@notify.bestcase.com
Susan Titus Collins scollins@counsel.lacounty.gov
Jeffrey W Dulberg jdulberg@pszjlaw.com
Richard Girgado rgirgado@counsel.lacounty.gov
M. Jonathan Hayes jhayes@rhmfirm.com,
roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;russ@rhmf
irm.com;david@rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario@rhmfirm.com Christopher J
Christopher Langley chris@slclawoffice.com, omar@slclawoffice.com
Benjamin R Levinson ben@benlevinsonlaw.com, courtney@benlevinsonlaw.com
Eric A Mitnick MitnickLaw@aol.com, mitnicklaw@gmail.com
Giovanni Orantes go@gobklaw.com, gorantes@orantes-
law.com,cmh@gobklaw.com,gobklaw@gmail.com
Matthew D. Resnik matt@rhmfirm.com,
Allan D Sarver ADS@asarverlaw.com
David Samuel Shevitz david@shevitzlawfirm.com,
shevitzlawfirm@ecf.courtdrive.com;r48785@notify.bestcase.com;Jose@shevitzlawfirm.com United States
Trustee (LA) ustpregion16.la.ecf@usdoj.gov
Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov
                                                                                            Service information continued on attached page


2. SERVED BY UNITED STATES MAIL:
On (date) 4/12/2022, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Honorable Ernest M. Robles
Edward R. Roybal Federal Building & Courthouse
255 E. Temple St, Suite 1560/Courtroom 1568
Los Angeles, CA 90012

                                                                                            Service information continued on attached page




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 4/12/2022            Peter Kim                                                                 /s/ Peter Kim
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
